 Case 3:21-cv-16546-ZNQ-DEA Document 1 Filed 09/03/21 Page 1 of 2 PageID: 1




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Counsel for Non-Party Season 4, LLC

               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY

                                      Civil Action No.: ____________________
IN RE: 3M COMBAT ARMS
EARPLUG PRODUCTS LIABILITY Lead case: 3:19-md-2885 (N.D. Fla.)
LITIGATION
                           MOTION DATE: October 4, 2021

                                      NON-PARTY MOVANT’S NOTICE
                                      OF MOTION TO QUASH AND FOR A
                                      PROTECTIVE ORDER

                                      ORAL ARGUMENT REQUESTED


      PLEASE TAKE NOTICE that, on October 4, 2021, at 10:00 a.m. or as soon

thereafter as counsel may be heard, non-party Season 4, LLC shall move, at the

United States District Court for the District of New Jersey in Trenton, New Jersey

for an Order granting Season 4’s Motion to Quash and for a Protective Order

concerning the subpoena issued by defendants 3M Company, 3M Occupational
 Case 3:21-cv-16546-ZNQ-DEA Document 1 Filed 09/03/21 Page 2 of 2 PageID: 2




Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, and Aearo

Technologies LLC.

      PLEASE TAKE FURTHER NOTICE that in support of this Motion,

Season 4 shall rely upon the accompanying Brief and the September 3, 2021

Declaration of Dominique J. Carroll, Esq. (and the exhibits thereto).

      PLEASE TAKE FURTHER NOTICE that a proposed form of Order is

submitted herewith.

      PLEASE TAKE FURTHER NOTICE that the moving party requests oral

argument.

Dated: September 3, 2021               Respectfully Submitted,

                                       FOX ROTHSCHILD LLP

                                       /s/ Dominique J. Carroll
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